       Case 1:25-cv-01643-APM           Document 29        Filed 06/10/25      Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



VERA INSTITUTE OF JUSTICE, et al.,

       Plaintiffs,

       v.
                                                           Civil Action No. 25-CV-01643-APM
UNITED STATES DEPARTMENT OF
JUSTICE, et al.,

       Defendants.




                                    JOINT STIPULATION

       On or about June 3, 2023, the Department of Justice, Office of Justice Programs (OJP) sent

email communications to Plaintiffs and some other putative class members to begin the closeout

process for the terminated grant awards challenged in this case. To provide a procedure for

recipients of terminated grant awards to obtain reimbursement for qualified expenses that they may

have incurred before such termination, OJP requested that each such grant recipient submit a

“preliminary final” Federal Financial Report (FFR) to OJP within 7 days. The information in the

“preliminary final” FFR will be used by OJP to determine the amount of money, if any, each grant

recipient may be lawfully owed for qualified expenses the recipient incurred prior to termination.

       To obviate any need for further litigation during the pendency of Plaintiffs’ motion for

preliminary injunction before this Court, the parties hereby agree and stipulate to the following:

       1. OJP will take reasonable and appropriate steps, consistent with applicable law

            (including as applied under each award agreement and the terms and conditions
Case 1:25-cv-01643-APM           Document 29       Filed 06/10/25      Page 2 of 3




   thereof), to review each “preliminary final” FFR to determine whether a grant recipient

   may be eligible for reimbursement for qualified expenses that the recipient incurred

   before termination. In the event that OJP determines that the recipient may be entitled

   to reimbursement, OJP will take reasonable and appropriate steps to remit payment to

   the recipient.

2. OJP will accept for review (per paragraph 1) any “preliminary final” FFR submitted

   beyond the seven-day period, until the “final” FFR is legally due. As required under

   DOJ federal grants administrative regulations (e.g., 2 C.F.R. § 200.344), the grant

   recipient must submit any such claims for reimbursement by no later than 120 days

   after the termination date.

3. Defendants agree not to submit evidence or argument against Plaintiffs in this litigation

   about an individual grant recipient’s decision to submit or not submit a “preliminary

   final” FFR.

4. In connection with the terminations, OJP will— (a) take no actions, other than in

   accordance with law (e.g., 2 C.F.R. § 200.344); and (b) will not close out any grant

   award (other than with the consent of the grant recipient), until the Court resolves

   Plaintiffs’ motion for preliminary injunction; and (c) will approve extensions pursuant

   to 2 C.F.R. § 200.344(c), at the request of any Plaintiff or putative class member, of

   not less than the number of days that elapse between the termination date of the

   challenged grant and the date that the Court decides Plaintiffs’ motion for preliminary

   injunction.




                                         2
      Case 1:25-cv-01643-APM     Document 29      Filed 06/10/25     Page 3 of 3




FOR PLAINTIFFS                             FOR DEFENDANTS

/s/ Jennifer Fountain Connolly             YAAKOV M. ROTH
JENNIFER FOUNTAIN CONNOLLY                 Acting Assistant Attorney General
(D.C. Bar No. 1019148)
DEMOCRACY FORWARD FOUNDATION               ANDREW I. WARDEN
P.O. Box 34553                             Assistant Director
Washington, D.C. 20043                     Federal Programs Branch
Telephone: (202) 448-9090
Fax: (202) 796-4426                        /s/ John Bailey
jconnolly@democracyforward.org             John Bailey
                                           Ohio Bar No. 10460
Counsel for Plaintiffs                     Counsel
                                           United States Department of Justice
                                           Civil Division
                                           950 Constitution Ave. NW
                                           Washington, DC 20005
                                           Phone: (202) 514-6993
                                           Email: john.bailey@usdoj.gov

                                           Counsel for Defendants




                                       3
